             Case 2:17-cr-00232-JAM Document 184 Filed 02/22/19 Page 1 of 3


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 MIRIAM R. HINMAN
   MATTHEW M. YELOVICH
 3 Assistant United States Attorney
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6
   Attorneys for Plaintiff
 7 United States of America

 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-232 GEB
12
                                  Plaintiff,             STIPULATION REGARDING EXCLUDABLE
13                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                           [PROPOSED] FINDINGS AND ORDER
14
     ERAN BUHBUT,                                        DATE: February 22, 2019
15   BAR SHANI,                                          TIME: 9:00 a.m.
     ATIR DADON,                                         COURT: Hon. Garland E. Burrell, Jr.
16   ADAM ATARI, and
     RAZ RAZLA,
17
                                  Defendants.
18

19
                                                STIPULATION
20
            1.     By previous order, this matter was set for status on February 22, 2019.
21
            2.     By this stipulation, defendants now move to continue the status conference until April 5,
22
     2019, and to exclude time between February 22, 2019, and April 5, 2019, under Local Code T4.
23
            3.     The parties agree and stipulate, and request that the Court find the following:
24
                   a)      The government has produced a total of over 49,000 pages of discovery, as well
25
            as 42 disks containing audio and video. The government’s production on December 20, 2018,
26
            included over 20,000 pages of discovery.
27
                   b)      Counsel for defendants desire additional time to complete their review of
28
            discovery, research legal issues, conduct investigation related to the charges, discuss potential

      STIPULATION REGARDING EXCLUDABLE TIME              1
30    PERIODS UNDER SPEEDY TRIAL ACT
              Case 2:17-cr-00232-JAM Document 184 Filed 02/22/19 Page 2 of 3


 1          resolutions with their clients, and prepare pretrial motions.

 2                 c)      Counsel for defendants believe that failure to grant the above-requested

 3          continuance would deny them the reasonable time necessary for effective preparation, taking into

 4          account the exercise of due diligence.

 5                 d)      In addition, Defendant Bar Shani is considering retaining new counsel and

 6          requires approximately one month to complete his decision and arrangements.

 7                 e)      Current counsel for Bar Shani believes that failure to grant the continuance would

 8          deny Bar Shani reasonable time to obtain the counsel of his choice.

 9                 f)      The government does not object to the continuance.

10                 g)      Based on the above-stated findings, the ends of justice served by continuing the

11          case as requested outweigh the interest of the public and the defendant in a trial within the

12          original date prescribed by the Speedy Trial Act.

13                 h)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14          et seq., within which trial must commence, the time period of February 22, 2019 to April 5,

15          2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

16          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

17          of the Court’s finding that the ends of justice served by taking such action outweigh the best

18          interest of the public and the defendant in a speedy trial.

19          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

20 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
21 must commence.

22          IT IS SO STIPULATED.

23
      Dated: February 19, 2019                                MCGREGOR W. SCOTT
24                                                            United States Attorney
25
                                                              /s/ MIRIAM R. HINMAN
26                                                            MIRIAM R. HINMAN
                                                              MATTHEW M. YELOVICH
27                                                            Assistant United States Attorneys
28

      STIPULATION REGARDING EXCLUDABLE TIME               2
30    PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:17-cr-00232-JAM Document 184 Filed 02/22/19 Page 3 of 3

     Dated: February 20, 2019                       /s/ RANDY SUE POLLOCK
 1                                                  RANDY SUE POLLOCK
                                                    Counsel for Defendant
 2                                                  Eran Buhbut
 3

 4
     Dated: February 20, 2019                       /s/ CLYDE BLACKMON
 5                                                  CLYDE BLACKMON
                                                    Counsel for Defendant
 6                                                  Bar Shani
 7

 8
     Dated: February 20, 2019                       /s/ PETE KMETO
 9                                                  PETE KMETO
                                                    Counsel for Defendant
10                                                  Atir Dadon
11

12
     Dated: February 21, 2019                       /s/ BRETT GREENFIELD
13                                                  BRETT GREENFIELD
                                                    Counsel for Defendant
14                                                  Adam Atari
15

16
     Dated: February 21, 2019                       /s/ GEORGE MGDESYAN
17                                                  GEORGE MGDESYAN
                                                    Counsel for Defendant
18                                                  Raz Razla
19

20
21

22                                      FINDINGS AND ORDER
23        IT IS SO FOUND AND ORDERED.
24        Dated: February 22, 2019
25

26
27

28

     STIPULATION REGARDING EXCLUDABLE TIME      3
30   PERIODS UNDER SPEEDY TRIAL ACT
